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                                                                             FILED
                  IN THE UNITED STATES DISTRICT COURT                        APRao 2018
                      FOR THE DISTRICT OF MONTANA                        9er1<.u
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                           MISSOULA DIVISION                                          '"'sion



 UNITED STATES OF AMERICA,                         CR 17-32-M-DWM-02

              Plaintiff,

       vs.                                                 ORDER

 HELEN ACOSTA OLGUIN,

              Defendant.


      Defendant Helen Acosta Olguin has entered a plea of guilty to Count I of the

Indictment in this case. (Docs. 1, 28.) In addition to those conditions of

supervision previously imposed,

      IT IS ORDERED that Ms. Olguin shall participate in substance abuse testing

to include not more than two (2) urinalysis tests per week, two (2) breathalyzer

tests per week, and eight (8) sweat patch applications between today and Ms.

Olguin's sentencing date of September 6, 2018.
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     DATED thi~ day of April, 2018.




                                                    olloy, District Judge
                                                    District Court
